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Exhibit 4

E-mail Letter, London to Stevens, June 10, 2010 Regarding Interrogatories
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Jack W. London

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JACK W. LONDON AND ASSOCIATES, P.C.
Aviation and Product Liability Law

Dear Catherine:

This and the following email refer to the attempt by Mrs. Barlow to obtain discovery from your client,
Pfizer / Warner-Lambert, that was the subject of our telephone call last Monday and the call you
requested that we have this coming Monday.

This email addresses the interrogatories that were not answered; the following email pertains to the
Requests for Discovery.

| attach to this email (1) a copy of Mrs. Barlow’s Amended Motion to Compel (ECF 2480) that was filed
last February and heard and ruled on by Judge Sorokin in March and (2) the Court’s order granting Mrs.
Barlow’s motion and ordering Pfizer to comply within 14 days (ECF 2751).

The motion plainly addressed both the interrogatories and the requests for production. The Order
plainly answered Pfizer to comply within 14 days of March 28.

| also point out that the Motion, as well as the memorandum, stated expressly that they were to enable
Mrs. Barlow to prepare for depositions of the sales representatives who contacted her prescribing
doctors.

Finally, for this email, | attach (3) the interrogatories themselves. | have highlighted for you in yellow
the information that was sought and called for and that has not been provided. This information
should have been provided by April 5 and the failure to properly answer these interrogatories as
required by the rules and by Judge Sorokin’s order has obstructed and continues to obstruct Mrs.
Barlow’s attempts to prepare for and take the sales representatives depositions and otherwise conduct
discovery pursuant to Judge Sorokin’s order,

While | do look forward to our telephone call Monday to have a conference regarding this, | am
providing this to you to remove any doubt about what Pfizer has not done. It is in violation of Judge
Sorokin’s order and | want the interrogatories answered in a proper, non-evasive, full, and complete
response, signed by a person with knowledge of the answers who will be subject to deposition
regarding them, and for such answers to be served immediately.
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Thank you very much,

Jack W. London
